              Case 5:12-cr-03186-RB     Document 91         Filed 08/11/15      Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                   Plaintiff,

v.                                                             CV 15-138 RB/WPL
                                                               CR 12-3186 RB
HECTOR RUIZ,
a/k/a ARTURO RUIZ,

                   Defendant.


                 PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

          This matter is before me on Hector Ruiz’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence (CV Doc. 1; CR Doc. 85).1 Ruiz challenges his sentence on two

grounds: first, that the United States failed to prove the existence of his prior convictions that

would support sentencing him under the Career Offender enhancement of U.S.S.G. § 4B1.1, and

second, that he received constitutionally ineffective assistance of counsel when his attorney

failed to object to the Career Offender enhancement. Since Ruiz’s claim may be resolved on the

record alone, I have not conducted an evidentiary hearing. I recommend that the motion be

denied.

                                           BACKGROUND

          Ruiz pleaded guilty on April 10, 2013, without a plea agreement, to one count of

conspiracy to distribute methamphetamine and two counts of possession with intent to distribute

methamphetamine. (Doc. 52.) On February 12, 2014, Ruiz was sentenced to a prison term of 188


          1
           All citations to “CV Doc.” refer to documents filed in the civil case, CV 15-138 RB/WPL. All
citations to “CR Doc.” refer to documents filed in the criminal case, CR 12-3186 RB. Unless otherwise
noted, documents are cited by reference to the criminal case.
        Case 5:12-cr-03186-RB         Document 91        Filed 08/11/15     Page 2 of 7




months, followed by five years of unsupervised release. (Doc. 71.) Ruiz did not directly appeal

his conviction or sentence. (Doc. 89 at 4; see also Doc. 85 at 2 (no response to question 8: “Did

you appeal from the judgment of conviction?”).)

       Ruiz timely objected to the Presentence Report (“PSR”) on multiple bases, including that

he was not the person charged and convicted of a 2007 offense in California for possession of a

controlled substance. (Doc. 67.) The parties agree that the PSR listed Ruiz as a Career Offender

under U.S.S.G. § 4B1.1, which exposed him to a total offense level of 37 with a criminal history

category VI. The parties also agree that, absent the Career Offender enhancement, Ruiz was

exposed to a total offense level of 38 with a criminal history category III. (See Doc. 67 at 3.)

Because Ruiz pled guilty, he received the benefit of a three-level reduction in the total offense

level, for a total offense level of 35. (Id.) The United States agreed with Ruiz that it could not

prove the 2007 conviction from California. (Doc. 68.)

       At the Sentencing Hearing on February 11, 2014, Ruiz and the United States reached an

agreement and Ruiz withdrew all motions for variance. Sentencing Hearing at 2:32:38-44.

Defense counsel informed the Court that all of Ruiz’s objections had been addressed by the

probation department and that all appropriate changes had been made to the PSR. Id. at 2:32:32-

38. Ruiz confirmed to the Court that this was his understanding. Id. at 2:32:47-49. Ruiz then

confirmed that he had reviewed the PSR with counsel and that everything in it was true, correct,

and accurate. Id. at 2:32:54-56.

       The Court found that, under the PSR, Ruiz had an offense level of 35 and a criminal

history category VI. Id. at 2:33:34-36. Pursuant to the parties’ agreement, the United States

agreed that Ruiz’s criminal history category was overrepresented and agreed to a criminal history

category II. Id. at 2:34:10-15. The Court then ruled that Ruiz’s criminal history was



                                                2
        Case 5:12-cr-03186-RB          Document 91        Filed 08/11/15      Page 3 of 7




overrepresented and granted the requested downward variance to criminal history category II. Id.

at 2:37:40-43. The Court sentenced Ruiz to 188 months of incarceration. Id. at 2:37:50-54.

                                      STANDARD OF REVIEW

       Because Ruiz is a pro se litigant, I must construe his pleadings liberally and hold them to

a less stringent standard than is required of a party represented by counsel. See Weinbaum v. City

of Las Cruces, 541 F.3d 1017, 1029 (10th Cir. 2008) (citing Hall v. Bellmon, 935 F.2d 1106,

1110 (10th Cir. 1991)). Liberal construction requires courts to make some allowance for a pro se

litigant’s “failure to cite proper legal authority, his confusion of various legal theories, his poor

syntax and sentence construction, or his unfamiliarity with pleading requirements.” Garrett v.

Selby Connor Maddux & Janer, 425 F.3d 836, 840 (10th Cir. 2005) (quoting Hall, 935 F.2d at

1110) (alterations omitted). However, “the court cannot take on the responsibility of serving as

the litigant’s attorney in constructing arguments and searching the record.” Id.

                                            DISCUSSION

       Ruiz argues that the Court erred by sentencing him under the Career Offender

enhancement because the United States failed to prove supporting convictions by a

preponderance. Additionally, Ruiz alleges that he received constitutionally ineffective assistance

of counsel, in violation of his Sixth Amendment rights, because counsel failed to object to the

application of the Career Offender enhancement. The parties agree, and I concur, that Ruiz

timely filed this motion. 28 U.S.C. § 2255(f). I find that Ruiz’s first argument is moot because

the Court did not sentence him under the Career Offender enhancement. I also find that Ruiz did

not receive constitutionally ineffective assistance of counsel. I recommend that the Court deny

Ruiz’s motion, dismiss this case with prejudice, and deny a certificate of appealability.




                                                 3
          Case 5:12-cr-03186-RB        Document 91        Filed 08/11/15      Page 4 of 7




   I.       Evidentiary Hearing

         A court must conduct a hearing on a § 2255 motion “[u]nless the motion and the files and

records of the case conclusively show that the prisoner is entitled to no relief.” 28 U.S.C.

§ 2255(b); see also United States v. Lopez, 100 F.3d 113, 119 (10th Cir. 1996). Under this

standard, “the petitioner bears the burden of ‘alleging facts which, if proved, would entitle him to

relief.’” Hatch v. Oklahoma, 58 F.3d 1447, 1457 (10th Cir. 1995) (citations omitted), overruled

on other grounds by Daniels v. United States, 254 F.3d 1180, 1188 n.1 (10th Cir. 2001) (en

banc). Accordingly, if the prisoner alleges facts, which, if believed, cannot be grounds for relief,

there is no need for a hearing. See id. Additionally, the petitioner’s “allegations must be specific

and particularized; conclusory allegations will not suffice to warrant a hearing.” Id. (citations and

internal punctuation omitted). If the claims relate to occurrences in the courtroom or evidence in

the record, then the Court need not conduct a hearing. Machibroda v. United States, 368 U.S.

487, 494-95 (1962).

         Because the record alone establishes that Ruiz’s § 2255 motion should be denied, I did

not hold an evidentiary hearing in this matter.

   II.      Career Offender Enhancement

         Ruiz briefly argues that the Court erred by applying the Career Offender enhancement

because the Court had insufficient evidence to support the underlying convictions. In response,

the United States notes that Ruiz is barred from challenging his classification as a Career

Offender because he failed to raise the issue on direct appeal. Additionally, the United States

contends that Ruiz’s offense level was calculated based on the offenses in this case alone, not the

Career Offender Enhancement, and that the criminal history category was reduced to category II

per agreement of the parties and the Court.



                                                  4
           Case 5:12-cr-03186-RB         Document 91       Filed 08/11/15      Page 5 of 7




          Section 2255 motions, like this one, are not available to challenge the legality of issues

which should have been raised on direct appeal. United States v. Warner, 23 F.3d 287, 291 (10th

Cir. 1994). “A defendant’s failure to present an issue on direct appeal bars him from raising the

issue in his § 2255 motion, unless he can show cause excusing his procedural default and actual

prejudice resulting from the errors of which he complains, or can show that a fundamental

miscarriage of justice will occur if his claim is not addressed.” Id.

          Ruiz did not file a direct appeal. The United States raised the procedural bar issue in its

response (Doc. 89 at 4), but Ruiz did not reply to this argument. Therefore, I conclude that Ruiz

is procedurally barred from challenging his classification as a Career Offender.

          Even if Ruiz were not procedurally barred from raising this argument, he would be

unable to show actual prejudice because the Court granted a downward variance and did not

sentence Ruiz as a Career Offender. Sentencing Hearing at 2:37:40-43.

   III.      Ineffective Assistance of Counsel

          Ruiz then argues that he received ineffective assistance of counsel because his attorney

did not object to the Career Offender classification at sentencing. The United States responds

that Ruiz’s motion should be denied because he is unable to show prejudice resulting from the

alleged error.

          To succeed on an ineffective assistance of counsel claim, a defendant must show 1) that

his lawyer’s performance was deficient, i.e., below the level expected from a reasonably

competent attorney in criminal cases, and 2) that he suffered prejudice, meaning that there is a

reasonable probability that the result would have been different but for his lawyer’s

unprofessional errors. United States v. Cruz, 774 F.3d 1278, 1284-85 (10th Cir. 2014) (citing

Strickland v. Washington, 466 U.S. 668, 687, 696 (1984)). “[T]here is no reason for a court



                                                   5
        Case 5:12-cr-03186-RB         Document 91        Filed 08/11/15     Page 6 of 7




deciding an ineffective assistance claim to approach the inquiry in the same order or even to

address both components of the inquiry if the defendant makes an insufficient showing on one.”

Strickland, 466 U.S. at 697.

       With regard to the prejudice prong, Ruiz cites to United States v. Kissick, 69 F.3d 1048,

1055-56 (10th Cir. 1995), for the proposition that prejudice can be established when counsel’s

deficiency resulted in a “specific, demonstrable enhancement in sentencing – such as an

automatic increase for a ‘career’ offender . . . – which would have not occurred but for counsel’s

error.” Id. (quotation omitted). The problem with Ruiz’s argument is that he did not suffer a

sentencing enhancement. Instead, the Court sentenced Ruiz at the low end of the statutory

guidelines for an offense level of 35 with a criminal history category II. See U.S. Sentencing

Comm. Guidelines Manual, App’x G: Tables (2014) (the guidelines range for level 35 and

history category II is 188-235 months of incarceration). Had the Court applied criminal history

category VI, for the Career Offender Enhancement, Ruiz would have been subject to a guidelines

range of 292-365 months. Id. Furthermore, even if counsel had successfully challenged the

Career Offender enhancement, Ruiz would still have started at a total offense level of 38 for his

drug conduct, as opposed to a level 37 as a Career Offender. Compare U.S.S.G. § 2D1.1 with

U.S.S.G. § 4B1.1.

       The Career Offender classification had no bearing on Ruiz’s total offense level and was

not used in calculating his criminal history category. Therefore, Ruiz can show no prejudice

resulting from his counsel’s allegedly deficient performance. Because I find that Ruiz cannot

satisfy the prejudice prong, I do not reach the issue of whether defense counsel’s performance

fell below the level expected from a reasonably competent attorney in criminal cases. Strickland,

466 U.S. at 697.



                                                6
          Case 5:12-cr-03186-RB              Document 91      Filed 08/11/15   Page 7 of 7




                                                 CONCLUSION

        Ruiz is procedurally barred from challenging the application of the Career Offender

enhancement. With regard to his claim of ineffective assistance of counsel, Ruiz failed to show

that he suffered prejudice as a result of any alleged errors. Therefore, I conclude that Ruiz failed

to establish an ineffective assistance claim. For the reasons stated herein, I recommend that

Ruiz’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Doc. 85) be

denied and this case be dismissed with prejudice. I further recommend that the Court deny a

Certificate of Appealability. See 28 U.S.C. § 2253(c).


       THE PARTIES ARE NOTIFIED THAT WITHIN 14 DAYS OF SERVICE of a
copy of these Proposed Findings and Recommended Disposition they may file written objections
with the Clerk of the District Court pursuant to 28 U.S.C. § 636(b)(1). A party must file any
objections with the Clerk of the District Court within the fourteen-day period if that party
wants to have appellate review of the Proposed Findings and Recommended Disposition. If
no objections are filed, no appellate review will be allowed.



                                                         ______________________________
                                                         WILLIAM P. LYNCH
                                                         UNITED STATES MAGISTRATE JUDGE




A true copy of this order was served
on the date of entry--via mail or electronic
means--to counsel of record and any pro se
party as they are shown on the Court’s docket.
                                                     7
